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     United States of America
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8
9                              IN THE UNITED STATES DISTRICT COURT
10                          FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA                           Case No. 1:22-cr-00241-JLT-SKO
13                    Plaintiff,                         STIPULATION TO CONTINUE STATUS
                                                         CONFERENCE; ORDER
14
            v.
15
      RICHARD BEST
16
                      Defendant.
17
18
19          IT IS HEREBY STIPULATED by and between the parties through their respective
20   counsel that the Status Conference scheduled for March 29, 2023, may be continued until March
21   May 31, 2023, at 1:00 p.m., before the Honorable Sheila K. Oberto. The government has
22   produced discovery to defense counsel. Defense counsel has further investigation to perform in
23   this case. The parties agree that time under the Speedy Trial Act shall be excluded through May
24   31, 2023, in the interests of justice, including but not limited to, the need for effective defense
25   preparation and defense investigation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and
26   3161(h)(7)(B)(i) and (iv).
27   ///
28   ///
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1    The parties also agree that the ends of justice served by taking this action outweigh the best
2    interests of the public and of the Defendant to a speedy trial.
3
4     Dated: March 21, 2023                                /s/ Jeffrey Hammerschmidt
                                                           JEFFREY HAMMERSCHMIDT
5                                                          Counsel for Richard Best
6
      Dated: March 21, 2023                                /s/ Joseph Barton
7
                                                           JOSEPH BARTON
8                                                          Assistant United States Attorney

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     Case 1:22-cr-00241-JLT-SKO Document 16 Filed 03/22/23 Page 3 of 3


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      UNITED STATES OF AMERICA                           Case No. 1:22-cr-00241-JLT-SKO
12
                    Plaintiff,                           ORDER
13
            v.
14
      RICHARD BEST
15
                    Defendant.
16
17
                                                ORDER
18
            Upon the Parties’ stipulation and for good cause shown, the Status Conference scheduled
19
     for March 29, 2023, is continued until May 31, 2023, at 1:00 p.m., before the Honorable Sheila
20
     K. Oberto. The period through May 31, 2023, inclusive, is excluded pursuant to 18 U.S.C. §§
21
     3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
22
            IT IS SO ORDERED.
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24
      DATED: 3/21/2023
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26                                                  HONORABLE SHEILA K. OBERTO
                                                    UNITED STATES MAGISTRATE JUDGE
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